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CIVIL
Section 8 , DISTRICT COURT
JURY |
CIVIL DISTRICT COURT OF PARISH OF ORLEANS
STATE OF LOUISIANA |
NO: DIVISION“ »
NICKI LEVENDIS
VERSUS

HARRAH’S NEW ORLEANS MANAGEMENT COMPANY, ‘ LLC,
CAESARS LICENSE COMPANY, LLC CEOC, LLC, and
JAZZ CASINO COMPANY, LLC °

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DEPUTY CLERK
' PETITION FOR DAMAGES AND REQUEST FOR TRIAL BY JURY
NOW INTO COURT, through undersigned counsel, comes Plaintiff, Nicki Levendis
(“Dr, Levendis”), who avers the following: -
PARTIES
1.

‘The following party is made a plaintiff in this Petition for Damages:

a) Nicki Levendis is an individual and resident of the Parish of Jefferson Parish

2.
" The following parties are made Defendants, and are referred to collectively as
“Defendants” in this Petition for Damages:

a) Harrah’ 3 New Orleans Management Company, LLC. is a foreign limited liability
company formed under the state laws of Nevada with its principal place of business
located at 1 Caesars Palace Drive, Las Vegas, Nevada, 89109. Harrah’s New Orleans
Management Company, LLC, is authorized to do and doing business in the state of
Louisiana. Harrah’s is represented in the state of Louisiana through its registered agent
jocated at 501 Louisiana Avenue, Baton Rouge, Louisiana, 70802.
b) Caesars License Company, LLC, is a foreign limited liability company formed
under the laws of Nevada and managed by Caesars Enterprise, LLC, with its principal
place of business located at 1 Caesars Palace Drive, Las Vegas, Nevada, 89109. This

defendant conducts business in Louisiana and has caused injury and damage in

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Louisiana. This defendant is involved in the operation of the casino located at 8 Canal
Street, New Orleans, Louisiana 70130, where the incident at issue in this litigation
occurred. This entity has enjoyed the benefits of Orleans Parish Civil District Court, as it
has sued and been’ sued in this jurisdiction. .
c) . CEOC, LLC, is a foreign limited ability company formed under the laws of the
state of Nevada with its principal place of business located at 1 Caesars Palace Drive, Las .
Vegas, Nevada, 89109. This defendant is authorized to do and is doing business in the
state of Louisiana. This defendant is represented in the state of Louisiana through its
registered agent located at 501 Louisiana Avenue, Baton Rouge, Louisiana, 70802.
d) Jazz Casino Company, LLC is a Louisiana limited liability company formed
under the laws of the state of Louisiana with its principal place of business located at One
Canal Place, 365 Canal St., Suite 900, New Orleans, Louisiana, 70130, and a registered
agent located at 501 Louisiana Avenue, Baton Rouge, Louisiana, 70802. Jazz Casino
Company, LLC is sometimes referred to as “Jazz Casino Company, LLC D/B/A Harrah’s
New Orleans.” Jazz Casino Company, LLC operates the casino located at § Canal Street,
New Orleans, Louisiana 70130, where the incident at issue in this litigation occurred.
This entity has enjoyed the benefits of Orleans Parish Civil District Court, as it has sued
and been sued in this jurisdiction.

- JURISDICTION & VENUE

3.

Venue is proper in this judicial district pursuant to Louisiana Code of Civil Procedure

Article 73 and 74 for the following reasons:

a) Defendants are doing business in Orleans Parish;

_b) "Dr. Levendis’s injuries were sustained in the Parish of Orleans, and

3) A substantial part of the events, omissions, and other wrongful conduct at issue in

this case occurred in the Parish of Orleans.
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4,
This Court has original jurisdiction over this civil action as a court of general jurisdiction
authorized to conduct both ordinary and special proceedings, including awarding damages, costs,

and attorney’s fees for tortious conduct and other violations of Louisiana Law.

; BACKGROUND FACTS
5;

On or around the afternoon of January 21, 2018, Dr. Levendis was at Harrah’s Casino in

New Orleans, Louisiana, | |
6.

As Dr. Levendis was walking from the main gaming room of the casino to the dining
area, she slipped on a Jemon and water on the floor and fell. ‘The tile on which Dr. Levendis was
walking was neutral colored. Neither the lemon nor water were readily apparent-or open or
obvious to Dr. Levendis, and the defendants did not offer any warning of the hazard posed by the
foreign substances.

7, '

Dr. Levendis’s face and arm struck the floor when she fell, and she sustained serious
injuries as a result.

8.

Employees of Defendants saw the accident, piocsedod to Dr. Levendis to assist her, and
helped Dr. Levendis to her feet.

9

Defendant’s employees took Dr. Levendis to another room, and an ambulance was
summoned to take Dr, Levendis to Ochsner Medical Center for treatment.

10.

Dr. Levendis suffered a broken arm and a broken nose as a résult of the slip and fall.

Her injuries required two operations immediately after the accident: a radial head arthroplasty

for her broken arm, and a for her broken nose.
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11,
aN
Dr. Levendis also suffered back and neck pain and recurring migraines after the accident.
12,

Dr. Levenils's injuries required extensive post-surgical rehabilitative therapy and follow
up. Moreover, due to ongoing complications related to" the accident, additional surgeries, therapy
and treatment are contemplated,

13.

Pursuant to La. R.S. 9:2800.6, Defendants owed a duty to Dr. Levendis to exercise
reasonable care to keep the premises, passageways, and floors of the casino in a reasonably safe
condition,

14,

Defendants owed Dr. Levendis a duty to keep the premises, passageways, and floors of

the casino free of any hazardous condition which reasonably might give rise 7 damage.
. . 15,

Defendants owed Dr. Levendis a duty to keep the premises under sett control clean,

safe, and free from defects and hazards.
16.°

Allowing the lemon and water to remain on the floor in a heavily trafficked passageway

posed an unreasonable risk of harm and created an unreasonably dangerous condition.

17.

The dangerous lemon and water on the floor presented an unreasonable risk of harm to

Dr. Levendis, and that risk of harm was reasonably foreseeable to Defendants,

18.

Defendants had actual or constructive knowledge of the dangerous lemon and water on
the floor before Dr. Levendis’s fall and failed to correct the condition within a reasonable time
before Dr. Levendis’s fall,

| 19,
Defendants breached the duties they owed to Dr. Levendis by failing to remove the

lemon and water from the floor.
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20.
Defendants breached the duties they owed to Dr. Levendis by failing to warn her of the
slip and fall hazard,
21,
Defendants breached the duties they owed Dr, Levendis by failing to use due care under
the circumstances. | .
22,
The Defendants were negligent pursuant to La. Civil Code arts, 2317 and 2317.1, among
, other laws. .
23,
Defendants are liable jointly and/or in solido for the damages incurred as a result of Dr.
Levendis’s fall.
24.
As a result of the unreasonably dangerous condition and negligence of Defendants, Dr.
Levendis has sustained severe and debilitating injuries ‘and damages, including but not limited to:
a) Past, mien, aad fature medical expenses;
b) Past, present, and fhe physical pain and suffering;
c). Past, present, and fitines mental and emotional anguish;
d) Past, present, and future disability;
e) Past, present, and future loss of enjoyment of life;
f) Past, present, and future physical impairment; and
g) Any and all other damages proven at trial for this matter.
25.
Accordingly, Dr. Levendis prays fie an award of all damages reasonable in the premises,
including:
a) Past, present, and future medical expenses;
b)° _—- Past, present, and future physical pain and suffering;
¢) Past, present, and future mental and emotional anguish;
d} Past, present, and future disability;

6) Past, present, and future loss of enjoyment of life;

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f Past, present, and future physical impairment; and
g) Any and all other damages proven at trial for this matter.
26.
Because the amount in controversy exceeds $50,000, Dr. Levendis is entitled to and
seénest a trial by jury. ; /

WHEREFORE, Dr, Lavendis prays that due proceedings be had and that there be
judgment in her favor against Defendants, Harrah’s New Orleans Management Company, LLC,
. Caesars License Company, LLC, CEOC, LLC, and Jazz Casino Company, LLC, for all damages

reasonable in the premises, together with legal interest from the date of judicial demand until
paid, for all costs of these proceedings, and for any further and other legal and equitable relief as
the Court deems necessary and proper Dr. Levendis also requests a jury trial on all issues in this
case.

Respectfully submitted by:

COUHIG PARTNERS, LLC

ld C. Massey “OM

Claire E. Pontier (#32025)
John Zazulak (#38452)

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New Orleans, Louisiana 70163
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dmassey@couhigpartners.com
jzazulak@couhigpartners.com

‘Attorneys for Dr. Nicki Levendis

[Please see next page for service instructions.]

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Please serve:

Harrah’s New Orleans Management Company, LLC
Through its registered agent:

Corporation Service Company’

501 Louisiana Avenue

Baton Rouge, Louisiana 70802

Caesars License Company, LLC
Through Long Arm Service
Pursuant to La. R.S. 13:3204

CEOC, LLC

Through its registered agent:
Corporation Service Company
501 Louisiana Avenue

Baton Rouge, Louisiana 70802

Jazz Casino Company, LLC
Through its registered agent:
Corporation Service Company
501 Louisiana Avenue

Baton Rouge, Louisiana 70802

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